          Case 1:05-cv-01207-JLT-EPG Document 1332 Filed 03/21/19 Page 1 of 2



 1
 2
 3
 4
 5                                UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF CALIFORNIA
 7
     NATURAL RESOURCES DEFENSE                     Case No. 1:05-cv-01207-LJO-EPG
 8   COUNCIL, et al.,
                                                   ORDER DENYING UNITED STATES’
 9                 Plaintiffs,                     MOTIONS TO QUASH THE TRIAL
                                                   SUBPOENAS FOR MR. SMITH, MARIA
10                                                 REA, AND ERIC DANNER
           v.
11                                                 (ECF Nos. 1289, 1291)
     DAVID BERHNARDT, in his official
12   capacity as Acting Secretary of the
     Interior, et al.,
13
                 Defendants.
14
15
            Currently before the Court is the motion to quash the trial subpoenas for Mr. Smith, Ms.
16
     Rea, and Dr. Danner (ECF Nos. 1289, 1291). The Court has reviewed and considered
17
     Plaintiffs’ proffer of trial testimony (ECF No. 1317) and supplemental proffer of trial testimony
18
     of Mr. Smith (ECF No. 1327). The Court finds that live testimony from Mr. Smith, Ms. Rea,
19
     and Dr. Danner is appropriate. Accordingly,
20
            IT IS ORDERED that the Motions to quash the subpoenas for Mr. Smith, Ms. Rea,
21
     and Dr. Danner to appear for testimony at trial (ECF Nos. 1289, 1291) are DENIED. In light of
22
     this ruling, Defendants’ request for leave to file a response to Plaintiffs’ supplemental proffer
23
     of trial testimony for Mr. Smith (ECF No. 1331) is DENIED as moot.
24   IT IS SO ORDERED.
25
26      Dated:     March 20, 2019                               /s/
                                                        UNITED STATES MAGISTRATE JUDGE
27
28
     Case 1:05-cv-01207-JLT-EPG Document 1332 Filed 03/21/19 Page 2 of 2



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
